Case 5:05-cr-00009-KDB-DCK   Document 1570   Filed 04/04/13   Page 1 of 7
Case 5:05-cr-00009-KDB-DCK   Document 1570   Filed 04/04/13   Page 2 of 7
Case 5:05-cr-00009-KDB-DCK   Document 1570   Filed 04/04/13   Page 3 of 7
Case 5:05-cr-00009-KDB-DCK   Document 1570   Filed 04/04/13   Page 4 of 7
Case 5:05-cr-00009-KDB-DCK   Document 1570   Filed 04/04/13   Page 5 of 7
Case 5:05-cr-00009-KDB-DCK   Document 1570   Filed 04/04/13   Page 6 of 7
Case 5:05-cr-00009-KDB-DCK   Document 1570   Filed 04/04/13   Page 7 of 7
